Case 2:21-cv-00563-JNW   Document 471-10   Filed 06/26/25   Page 1 of 4




             EXHIBIT 10
                Case 2:21-cv-00563-JNW               Document 471-10                Filed 06/26/25      Page 2 of 4



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                                                                             February 13, 2025                               SEOUL
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                  VIA ELECTRONIC MAIL                                                                                       TORONTO


                  Cheryl Florio
                  Director of ADR Operations
                  American Arbitration Association
                  16 Market Square, 1400 16th Street
                  Suite 400
                  Denver, CO 80202
                  CherylFlorio@adr.org

                                 RE:        Individual Claimants v. Valve, Case 01-23-0005-8758

                  Dear Ms. Florio:

                         We write on behalf of Respondent Valve Corporation (“Valve”) to request that
                  the AAA administratively close the above-referenced consumer arbitration
                  proceedings because the AAA no longer has jurisdiction over the matters.

                          The original basis for AAA jurisdiction was an arbitration agreement in a now-
                  superseded version of Valve’s Steam Subscriber Agreement (“SSA”). But that
                  arbitration agreement was deemed unenforceable in four AAA arbitrations that
                  involved similar underlying claims. Based on those rulings, a class action was filed,
                  which seeks to certify a class that would include all of the claimants in these
                  proceedings (“Claimants”).1 As a result, Valve removed the arbitration agreement
                  from the SSA. The controlling SAA (“Controlling SSA,” attached hereto as Ex. 2)
                  now requires that these disputes be resolved exclusively in state or federal court in
                  King County, Washington.

                         Specifically, the Controlling SSA provides that all disputes and claims between
                  Valve and its customers, including accrued and pending claims, must proceed in court:


                  1
                      See Ex. 1 (Complaint, Elliott v. Valve Corp., No. 2:24-cv-01218 (W.D. Wash., filed Aug. 9,
                      2024)). Plaintiffs allege they could pursue the class action in court because they “won binding
                      decisions from arbitrators rendering Valve’s arbitration provision unenforceable.” (Id. ¶ 13.)
Case 2:21-cv-00563-JNW             Document 471-10             Filed 06/26/25        Page 3 of 4


 Cheryl Florio, Director of ADR Operations
 February 13, 2025
 Page 2


         All disputes and claims between you and Valve (including any dispute
         or claim that arose before the existence of this or any prior agreement)
         shall be commenced and maintained exclusively in any state or federal
         court located in King County, Washington, having subject matter
         jurisdiction. You and Valve hereby consent to the exclusive
         jurisdiction of such courts and waive any objections as to personal
         jurisdiction or venue in such courts.

 (Ex. 2 § 10.) All of the Claimants have agreed to the Controlling SSA, which requires
 that these arbitrations be closed.

         Claimants will have a full and fair opportunity to have their claims resolved in
 court. Currently there are four consumer putative class actions pending against Valve
 in the Western District of Washington, that have now been consolidated, that seek the
 same or substantially similar relief sought in these arbitrations.2

         Notably, Vorys Sater Seymour and Pease LLP (“Vorys”), which until very
 recently was co-counsel for Claimants in these proceedings, is one of the plaintiffs’
 firms pursuing the class actions and is seeking to be appointed interim class counsel.
 In fact, on October 4, 2024, while still acting as co-counsel for Claimants in these
 arbitrations, Vorys filed a motion to lift the stay of the consumer claims in one of the
 pending class actions, based on the Controlling SSA. In its motion, Vorys represented
 that the Controlling SSA “now require[s] all disputes and claims . . . to be ‘commenced
 and maintained exclusively in [court],’” including “‘any dispute or claim that arose
 before the existence of this or any prior agreement.’” (Ex. 3 at 2 (Consumer Plaintiffs’
 Motion to Lift Stay, In re Valve Antitrust Litig., No. 21-cv-00563-JNW (W.D. Wash.),
 ECF No. 370) (quoting Controlling SSA § 10).) That same day, October 4, 2024,
 Vorys filed a motion to consolidate the class actions and to be appointed as interim
 lead counsel for the putative consumer class. (Ex. 4 (Consumer Plaintiffs’ Motion to
 Consolidate and Appoint Vorys, Sater, Seymour and Pease LLP as Interim Lead Class
 Counsel, In re Valve Antitrust Litig., No. 21-cv-00563-JNW (W.D. Wash.), ECF No.
 373).)3 Vorys did not withdraw from these arbitrations until October 23, 2024.
 (Ex. 5.)



 2
     See In re Valve Antitrust Litig., No. 21-cv-00563-JNW (W.D. Wash., filed April 27, 2021)
     (“Wolfire”); Elliott v. Valve Corp., No. 2:24-cv-01218 (W.D. Wash., filed Aug. 9, 2024)
     (“Elliott”); Hepler v. Valve Corp., No. 2:24-cv-01735 (W.D. Wash., filed Oct. 23, 2024)
     (“Hepler”); Drake v. Valve Corp., 2:24-cv-01743 (W.D. Wash., filed Oct. 24, 2024) (“Drake”).
     On December 6, 2024, the Western District of Washington consolidated the four pending putative
     class actions under the caption In re Valve Antitrust Litig., No. 21-cv-00563-JNW (W.D. Wash.).
 3
     That filing noted that Vorys had also “filed a motion to lift the litigation stay due to recent
     changes to Valve’s SSA—notably, the SSA no longer contains a mandatory arbitration clause or
     class action waiver.” (Ex. 4 at 6.)
Case 2:21-cv-00563-JNW          Document 471-10       Filed 06/26/25     Page 4 of 4


 Cheryl Florio, Director of ADR Operations
 February 13, 2025
 Page 3

        Current counsel for Claimants has no legitimate basis to argue that these
 proceedings should not be closed as they previously requested the appointment of a
 Process Arbitrator “to address whether the arbitration clause in the Steam Subscriber
 Agreement is enforceable,” asserting that “a decision on this issue will affect each
 individual Claimant’s obligation to arbitrate their disputes with Valve.” (Ex. 6 at
 1-2 (emphasis added).) That issue has now been resolved and as a result Valve has
 removed the arbitration agreement from the SSA.

        To the extent there is any dispute over which version of the SSA applies to
 Claimants’ underlying claims, that is for a court—and not an arbitrator—to decide
 under the Supreme Court’s controlling decision in Coinbase, Inc. v. Suski, 602 U.S.
 143 (2024).

         Please be advised that because there is no arbitration agreement between Valve
 and Claimants, Valve will not pay any additional fees in connection with these
 arbitrations.

        Valve reserves all rights.

                                              Sincerely,

                                              /s/ Michael W. McTigue Jr.

                                              Michael W. McTigue Jr.


 cc:    Victoria Chandler
        All counsel of record

 (w/encls.)
